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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA




FORUSALL, INC.,

                      Plaintiff,       Case No. 22-cv-1551

          v.                           Hon. Christopher R. Cooper

UNITED STATES DEPARTMENT OF
LABOR et al.,

                      Defendants.




DEFENDANTS’ REPLY MEMORANDUM IN SUPPORT OF THEIR MOTION TO
                         DISMISS
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                                      INTRODUCTION
        Plaintiff ForUsAll, Inc. faults the Department of Labor and Secretary Walsh

(collectively, “Defendants” or “the Department”) for issuing Compliance Assistance

Release No. 2022-01, ECF No. 10-2 (“the Release”), and thereby informing plan fiduciaries

of the Department’s concerns with 401(k) plans offering cryptocurrency investment

options. The upshot of ForUsAll’s claims is a less transparent and nimble regulatory

process.

        Defendants moved to dismiss this action because ForUsAll lacks standing, the

Release is not final agency action, and the Release is not a legislative rule. See ECF No. 10-

1 (“Mot.”). In its opposition, ECF No. 11 (“Opp.”), ForUsAll exaggerates both the reach

of the Release as well as the detail of its own allegations. The Release is not the cause of

ForUsAll’s alleged injuries, its vacatur would not redress any such alleged harms, and it

does not impose legal consequences on ForUsAll or regulated entities. To the contrary,

the Release merely conveys the risks that the Department sees in 401(k) plan fiduciaries

offering cryptocurrency investment options. ForUsAll’s arguments to the contrary fail,

and this case should be dismissed for lack of subject-matter jurisdiction or failure to state

a claim. Fed. R. Civ. P. 12(b)(1), (6).

                                          ARGUMENT
   I.      FORUSALL HAS FAILED TO SHOW IT HAS STANDING.

        It is undisputed that ForUsAll has the burden of establishing that the Court has

subject-matter jurisdiction in this case. Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992).

As to standing, ForUsAll alleges that it has suffered injury in the form of lost business


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opportunities, see Compl. ¶ 50, ECF No. 1, but as Defendants demonstrated in their

motion to dismiss (at 8-10), ForUsAll has failed to allege enough facts showing that the

Release caused that so-called injury or that its asserted injury would be redressed by the

requested relief. ForUsAll has not directed the Court to allegations beyond those in

Paragraph 50 of its complaint, submitted declarations buttressing its claims, or otherwise

supplemented the record. Its exaggerations both of Defendants’ arguments and its own

complaint are unavailing. The Court lacks jurisdiction.

       A.     ForUsAll has not alleged a sufficient causal connection.

       At this stage in the litigation, ForUsAll must allege facts that, if proven, would

demonstrate that its “asserted injury was the consequence of the defendants’ actions.”

Warth v. Seldin, 422 U.S. 490, 505 (1975); see Double R Ranch Tr. v. Need, 284 F. Supp. 3d 21,

26 (D.D.C. 2018). Paragraph 50—as ForUsAll seems to concede, Opp. at 12—contains the

only allegations that could plausibly satisfy that requirement. And those allegations

make clear that the decisions of third parties—not Defendants—were the immediate

cause of ForUsAll’s lost opportunities. See Mot. at 12-13. Even assuming Department

action played some role in those plans’ decisions, as opposed to just their independent

decisionmaking, that paragraph does not show that the Release was a substantial factor in

these plans’ choice not to contract with ForUsAll. Id. at 13-14. ForUsAll’s responses do

not remedy these deficiencies.

       First, ForUsAll asserts that Defendants’ arguments regarding third parties’

involvement “fail[] as a matter of law” and are “’impossible to maintain’” under binding

law. Opp. at 8 (quoting Block v. Meese, 793 F.2d 1303, 1309 (D.C. Cir. 1986)); see id. at 8-10.

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That contention, however, depends on a mischaracterization of the governing law and

Defendants’ arguments.

       Starting with the law: the Supreme Court has recognized that “when the plaintiff

is not [it]self the object of the government action or inaction [it] challenges, standing is

not precluded, but it is ordinarily ‘substantially more difficult’ to establish.” Lujan, 504

U.S. at 562. A plaintiff must “adduce facts showing that those [third-party] choices have

been … made in such manner as to produce causation,” id., and that “the agency action

is at least a substantial factor motivating the third parties' actions against [the plaintiff],”

Cmty. for Creative Non-Violence v. Pierce, 814 F.2d 663, 669 (D.C. Cir. 1987). It is not enough

that the challenged action is “only one of the many factors whose relative influence may

affect the third parties’ behavior.” Cmty. for Creative Non-Violence, 814 F.2d at 669; accord

Competitive Enter. Inst. v. FCC, 970 F.3d 372, 381 (D.C. Cir. 2020) (“A permissible theory of

standing ‘does not rest on mere speculation about the decisions of third parties; it relies

instead on the predictable effect of Government action on the decisions of third parties.’”

(quoting Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2566 (2019)).

       Contrary to ForUsAll’s claims (at 8-9), Defendants have never suggested a

different standard applies, see Mot. at 12. Rather, Defendants contend that ForUsAll’s

claims fail the test. Paragraph 50 states that some number of plans had previously agreed

to offer cryptocurrency through ForUsAll’s program “prior to the Release and DOL

officials’ public comments following the Release,” and afterwards, certain plans

“indicated” that they did “not intend to proceed at this time in light of Defendants’

enforcement threats.” Compl ¶ 50. But “the Release” is not synonymous with unspecified

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“enforcement threats,” Mot. at 13-14, and “standing is not dispensed in gross,” Lewis v.

Casey, 518 U.S. 343, 358 n.6 (1996).1 ForUsAll must allege that the Release itself—not

generalized “threats” or perceived hostility toward cryptocurrency—was a substantial

factor in the plans’ decision not to contract with ForUsAll. As it stands, there is a gap in

the causal chain between ForUsAll’s purported injury (loss of business opportunity) and

the agency action being challenged (the Release). ForUsAll has not fixed that disconnect

with declarations or other evidence. Cf. Double R Ranch Tr., 284 F. Supp. 3d at 26 (“in

considering a motion to dismiss for lack of standing, the Court may look to materials

outside of the complaint, such as a plaintiff’s sworn declaration”). And efforts to add to

the complaint’s allegations through briefing are improper. See Arpaio v. Obama,

797 F.3d 11, 21 (D.C. Cir. 2015). As a result, even taking the allegations in the complaint

as true, ForUsAll has failed to plead a sufficient causal connection. See, e.g., Cmty. for

Creative Non-Violence, 814 F.2d at 669.

       The cases on which ForUsAll relies demonstrate these deficiencies. For example,

in Block, a regulation required foreign agents who produce “political propaganda” films

to file a publicly available report with the Department of Justice, listing such films, where

and when they were shown in the United States, and the estimated attendance. See 793




1 That the Employee Benefits Security Administration (“EBSA”) “expects to conduct an
investigative program” and question plan fiduciaries is nothing out of the ordinary.
EBSA has many investigative initiatives and priorities. See EBSA Enforcement Manual at
https://www.dol.gov/agencies/ebsa/about-ebsa/our-activites/enforcement.
ForUsAll’s reliance on a routine EBSA practice, i.e., providing the public with notice of
its intended investigative activities, is unavailing.

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F.2d at 1307 (citing 28 C.F.R. § 5.401(b) (1985)). The U.S. distributor for one such foreign

agent’s films claimed that it was injured by this regulation because “but for” the

government’s designation of a particular film as propaganda (triggering the listing

requirement), a particular entity would have purchased that film from the distributor. Id.

at 1308 (citing filed declarations). The Court concluded this showing was sufficient to

establish “de facto causality” even if the entity’s interpretation of the listing was irrational.

Id. at 1309. ForUsAll seems to suggest it is in a similar position to the distributor in Block,

Opp. at 10-11, but the key difference here is that ForUsAll has not tied the plans’ decision

not to do business with ForUsAll to the specific action being challenged, nor has it

pointed to a specific government action taken regarding ForUsAll or its particular

product.    This case is thus materially different from Block. The same omission

distinguishes this case from Department of Commerce, 139 S. Ct. at 2556 (specific addition

to the census); Tozzi v. Department of Health & Human Services, 271 F.3d 301, 309 (D.C. Cir.

2001) (specific listing of product as carcinogen), and Energy Future Coalition v. EPA, 793

F.3d 141, 144 (D.C. Cir. 2015) (specific regulation baring use of ethanol as test fuel). See

Opp. at 12; see also Competitive Enter. Inst., 970 F.3d at 383-88 (finding sufficient allegations

for only certain claims).

       Second, ForUsAll attempts to invert the burden of establishing standing by

suggesting that Defendants had an obligation to submit material in addition to the

complaint. See Opp. at 12, 13 n.7. But the plaintiff has the burden of establishing standing,

including “adduc[ing] facts showing that those [third-party] choices have been or will be

made in such a manner as to produce causation.” Ctr. for Bio. Diversity v. Dep’t of Interior,

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563 F.3d 466, 478 (D.C. Cir. 2009) (quoting Lujan, 504 U.S. at 562). At the motion-to-dismiss

stage, this burden can be satisfied by directing the Court to factual allegations in the

complaint (which must be accepted as true), but when faced with a Rule 12(b)(1)

challenge, the plaintiff may also submit declarations adding factual allegations. See

Double R Ranch Tr., 284 F. Supp. 3d at 26. Defendants identified a number of holes in

ForUsAll’s causation allegations, rendering them speculative in their current form. See

Mot. at 12-14. That Defendants also recognized that ForUsAll could potentially submit

declarations filling in those gaps does not place the burden on Defendants to negate any

conceivable basis of jurisdiction.

       Third, ForUsAll confuses various points that indicate that its causal chain is too

attenuated or implausible with pleading requirements. In the motion (at 13-14),

Defendants identified various reasons that ForUsAll’s lost opportunities are unlikely to

be a consequence of the Release, including that the Release does not preclude any plan

from adopting a cryptocurrency option, that plan fiduciaries have different risk

tolerances and an independent obligation to evaluate whether offering such an option is

prudent, that different plans made different choices, and that ForUsAll fails to allege that

the Department has taken any enforcement action based on the Release. ForUsAll

responds that none of them is necessarily determinative, see, e.g., Opp at 9-11, but

Defendants did not suggest they were. Rather, each one renders ForUsAll’s causation

claim more speculative, and taken together, they undermine its claim for standing. See,

e.g., Fla. Audubon Soc. v. Bentsen, 94 F.3d 658, 670 (D.C. Cir. 1996) (en banc) (“The greater



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number of uncertain links in a causal chain, the less likely it is that the entire chain will

hold true.”).

       B.       ForUsAll’s requested relief would not remedy the asserted injury.

       In the motion (at 15-16), Defendants demonstrated that each form of relief that

ForUsAll requested, even assuming it were granted, would not redress ForUsAll’s

claimed injury. ForUsAll acknowledges (Opp. at 14) that redress in this case “depends on

the cooperation of … third part[ies]”—the plans that chose to forgo contracting with

ForUsAll after issuance of the Release—but ForUsAll has failed to allege a basis for

concluding the plans would change course if ForUsAll were successful in this case. US

Ecology, Inc. v. Dep’t of Interior, 231 F.3d 20, 24-25 (D.C. Cir. 2000). That alone dooms its

claim for standing. See, e.g., Renal Physicians Ass’n v. Dep’t of Health & Human Servs., 489

F.3d 1267, 1278 (D.C. Cir. 2007) (“a bald allegation of standing is not enough to survive

even a motion to dismiss where neither the factual allegations nor their logic establish

redressability”).

       ForUsAll nevertheless asserts that its arguments in favor of causation necessarily

apply to redressability because there supposedly is no “new status quo” that is being

‘“held in place by other forces’ besides the government action at issue.” Opp. at 14

(quoting Competitive Enter. Inst., 970 F.3d at 385). But this assumes that contracting with

ForUsAll is in the plans’ interests, cf. Competitive Enter. Inst., 970 F.3d at 386 (crediting

assertions “firmly rooted in the basic laws of economics”), and, perhaps more

importantly, ignores that plan fiduciaries have a background duty of prudence. The

Release on its face outlines certain “significant risks and challenges” associated with

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cryptocurrency. Release at 1. The reality of these risks and challenges would be

unchanged by the Release’s rescission. Those risks and challenges—and fiduciaries’

understanding that the Department is aware of them—will also not change with this

litigation. Given that plan fiduciaries could reasonably decide to forgo offering

cryptocurrency investment options in light of those risks and challenges or based on

cryptocurrency’s recent market performance, regardless of whether the Release exists, is

more than plausible. ForUsAll has an obligation to allege facts showing certain plans

would not make that choice, see, e.g., Renal Physicians, 489 F.3d at 1278—and it has failed

to do so.

       Relying on Ciox Health, LLC v. Azar, 435 F. Supp. 3d 30 (D.D.C. 2020), ForUsAll also

argues that Defendants are wrong to note that ForUsAll’s requested relief would not

redress the claimed injury given ERISA’s continued existence because it “conflate[s]

Article III standing with merits issues.” Opp. at 14. But once more, ForUsAll ignores the

governing substantive law and its own allegations. ERISA imposes a duty of prudence

on plan fiduciaries, which requires them—among other things—“to monitor [plan]

investments and remove imprudent ones,” Tibble v. Edison Int’l, 575 U.S. 523, 530 (2015),

and the statute authorizes the Department to investigate and enforce those fiduciary

duties, 29 U.S.C. §§ 1132(a)(1)-(2), 1134(a). ForUsAll does not challenge either

proposition; its claims are procedural in nature, not substantive challenges to the statute

or the Department’s authority. Absent such a challenge, there is no reason to suspect that

the holdout plans would view their fiduciary duties differently, or that the Department

would take a different view of cryptocurrency’s risks, if ForUsAll’s relief were granted.

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See Renal Physicians, 489 F.3d at 1277-78 (redressability prong not satisfied where

invalidation of government action based on APA procedural grounds was unlikely to

change third-party behavior); Cty. of Delaware v. Dep’t of Transp, 554 F.3d 143, 149-50 (D.C.

Cir. 2009) (similar).

       Ciox Health and Sierra Club v. Mainella, 2005 WL 3276264 (D.D.C. Sept. 1, 2005), are

not to the contrary. In those cases, there was no unchallenged statutory provision that

would continue to govern the regulated parties’ behavior. Plaintiffs in those cases,

moreover, were challenging further interpretations of promulgated regulations, see Ciox

Health, 435 F. Supp. 3d at 44, 52 (guidance interpreting 2013 Privacy Rule); Sierra Club,

2005 WL 3276264, at *2-3 (guidance interpreting 36 C.F.R. § 9.32(e)), or the agency’s

substantive authority, see Ciox Health, 435 F. Supp. 3d at 44 (alleging agency acted ultra

vires). Neither is true here, and the continued existence of statutory fiduciary duties in

this instance dramatically undercuts any suggestion that the plans would feel freer to

proceed with offering cryptocurrency investment options absent the Release in ways that

the plaintiffs in Ciox Health and Sierra Club would.

       Finally, ForUsAll suggests that Defendants question the Court’s authority to

interpret the law in a particular case. Opp. at 15. That is nonsense. Defendants noted in

the motion (at 16), as explained above, that ERISA imposes a duty of prudence and

authorizes the Department to investigate and bring enforcement actions. The Department

has identified significant risks and challenges that accompany cryptocurrency

investment options, see Release at 2-3, and based on its concerns, the Department has

announced that it will be monitoring how plans provide such investment options, id. at

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3. Those are quintessential policy judgments for the Executive Branch—not the Court—

to make. See Heckler v. Chaney, 470 U.S. 821, 831-32 (1985) (“The agency is far better

equipped than the courts to deal with the many variables involved in the proper ordering

of its priorities.”). And contrary to ForUsAll’s opposition (at 15), that is precisely the point

made in Massachusetts v. Mellon, 262 U.S. 447, 488-89 (1923), and many subsequent cases.

Because ForUsAll does not contend that the Constitution or federal law prohibits the

Department from assessing the risks of cryptocurrency and communicating them to plan

fiduciaries, the Court lacks authority to direct the agency to take a different view, which

in the end appears to be the heart of ForUsAll’s request for relief.

   II.        THE RELEASE IS NOT REVIEWABLE FINAL AGENCY ACTION.

         The parties agree that two prerequisites must be present for the Release to

constitute final agency action under 5 U.S.C. § 704: (1) it must “mark the ‘consummation’”

of the Department’s process and be not “merely tentative or interlocutory [in] nature”;

and (2) it must determine “rights or obligations,” or have “legal consequences” flow from

it. Mot. at 18 (quoting Bennett v. Spear, 520 U.S. 154, 177-78 (1997)); accord Opp. at 16, 18.

Defendants have demonstrated, with respect to the Release, that neither is present, Mot.

at 18-24, and thus, the Release is unreviewable. ForUsAll’s contrary position is wrong.

         A.     The Release is not the consummation of the Department’s process.

         As explained in the motion (at 18-20), the first Bennett requirement is not satisfied

because the Release takes no definitive position and bears none of the hallmarks of final

agency action. ForUsAll disputes these points, but its arguments do not withstand

scrutiny.

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       To start, ForUsAll incorrectly claims that the Release takes “a definitive position”

on two points: (1) that there is “a new standard of care, ‘extreme care,’ applicable only to

cryptocurrency”; and (2) that there is “an obligation to monitor investments in ‘brokerage

windows’ also applicable only to cryptocurrency.” Opp. at 18. The text of the Release

shows neither to be true. In the Release’s first paragraph, it states that “[t]he Department

cautions plan fiduciaries to exercise extreme care before they consider adding a

cryptocurrency option to a 401(k) plan’s investment menu for plan participants.” Release

at 1. “Extreme care,” in that context, is merely colloquial usage in an educational

document urging fiduciaries to do their due diligence as ERISA already requires. See 29

U.S.C. § 1104(a)(1)(B) (requiring fiduciaries to act with appropriate “care, skill, prudence,

and diligence”). Indeed, in the next paragraph, the Release summarizes statutory

provisions and recites well-worn phrases that courts have used to describe the ERISA-

imposed fiduciary duties.2 The Release does not suggest anywhere that anything but the

ordinary duty of prudence applies, and it certainly does not state that there is a special

cryptocurrency regime, as ForUsAll contends.




2 Compare Release at 1 with 29 U.S.C. §§ 1104(a)(1) (“a fiduciary shall discharge his
duties … solely in the interest of the [plan] participants and beneficiaries”), id. § 1104(a)(1)
(B) (“a fiduciary shall discharge his duties … with the care, skill, prudence, and diligence”
of a “prudent man”), id. § 1109(a) (establishing personal liability for breach of fiduciary
duty); Tibble, 575 U.S. at 529 (duty of prudence includes duty to monitor investments and
remove imprudent ones); Stegemann v. Gannett Co., 970 F.3d 465, 469 (4th Cir. 2020)
(“Courts have often called these fiduciary duties the ‘highest known to the law.’”)
(quoting Schweitzer v. Inv. Comm. of Phillips 66 Savings Plan, 960 F.3d 190, 194 (5th Cir.
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       ForUsAll’s claims regarding “brokerage windows” are even more far-fetched. The

end of the Release states that “[t]he plan fiduciaries responsible for overseeing such

investment options or allowing such investments through brokerage windows should

expect to be questioned about how they can square their actions with their duties of

prudence and loyalty in light of the risks described above.” Release at 3. All that sentence

says is that some fiduciaries (including those who allow investments in cryptocurrency

through brokerage windows) may be asked how their decision to do so fits with their

duty of prudence. It does not say that any class of investments must be monitored; that

allowing investments in cryptocurrency violates a fiduciary duty; or that the Department

will initiate an enforcement proceeding on that basis.

       Further, comparing these so-called “definitive positions” with ForUsAll’s cited

cases shows just how unpersuasive these claims are. In United States Army Corps of

Engineers v. Hawkes Co., 578 U.S. 590 (2016), the Court concluded that an approved

jurisdictional determination (the agency action at issue), which “stat[es] the presence or

absence” of waters of the United States on a particular parcel of land after a significant

fact-finding process, was a definitive ruling that satisfied Bennett’s first pong. Id. at 595,

598. No comparable fact- or plan-specific investigation was conducted—nor any finding

rendered—with the Release. Compare Opp. at 17. In Frozen Food Express v. United States,

351 U.S. 40, 43 (1956), the government decided that certain commodities were not exempt

agricultural products; here, the Release offers no commentary on specific investment

vehicles or plans, and even as to cryptocurrency more generally, it merely expresses

concern, identifies risks, and contemplates further investigation, Release at 2-3. Finally, in

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Ciox Health, the challenged guidance “expresse[d] the agency’s view, in categorical terms,

as to what costs are covered by the Patient Rate.” 435 F. Supp. 3d at 61; see Cal. Cmtys.

Against Toxics v. EPA, 934 F.3d 627, 636 (D.C. Cir. 2019) (similar). No such specificity or

categorical decree is present here.

       ForUsAll also contends that the Release bears the hallmarks of final agency action

because it was issued in EBSA’s name by the then-Acting Assistant Secretary of Labor

and sets forth, in various places, “the Department’s” concerns. Opp. at 16-17. However,

ForUsAll once again ignores the Release’s actual language, see Release at 3 (expressly

contemplating further investigations), and confuses a few factors among many as

determinative. As noted in the motion (at 20), the Release was not published in the

Federal Register. The Department has not treated the Release as if it were a legislative

rule; there is no allegation that field offices are treating the Release as controlling or that

any enforcement action has been predicated on the Release. See Appalachian Power Co. v.

EPA, 208 F.3d 1015, 1021 (D.C. Cir. 2000). While none of these factors is necessarily

dispositive, when combined with the fact that the Release does not take a definitive

position and contemplates further agency action, they show that the first Bennett prong

has not been satisfied.

       B.     The Release does not create legal consequences.

       The second Bennett prong is also not satisfied because the Department has not held

out the Release as binding, nor does the Release actually bind the Department or private

parties. Mot. at 20-24. ForUsAll’s attempts at rebuttal are contrary to precedent and

common sense.

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       First, ForUsAll asserts that the Release stakes out two new legal positions—a

different standard of care with respect to cryptocurrency and a new monitoring

obligation with respect to brokerage windows. Opp. at 18-20. As explained above, see pp.

11-12, supra, these contentions are contrary to the plain language of the Release and

simply not present in the document. Regardless, ForUsAll offers no explanation as to how

an “extreme care” standard deviates from the ordinary duty of prudence—a duty among

“the ‘highest known to the law.’” Stegemann v. Gannett Co., 970 F.3d 465, 469 (4th Cir.

2020). Absent some explanation or differential enforcement, there is no conflict and no

new ground broken—even assuming the Release says what ForUsAll claims.

       As for ForUsAll’s argument regarding brokerage windows, it simply misstates the

current law, documents it purports to quote in the complaint, and statements from

Department officials. According to ForUsAll, “the Department’s own longstanding

regulations provide that the ‘duty to prudently select and monitor’ investments applies

to ‘designated investment alternatives’ included on the plan’s menu of investment

options, but does not extend to investments that are only available to participants if they

opt in to use of a brokerage window.” Opp. at 5 (citing Compl. ¶¶ 20-21; 29 C.F.R.

§ 2550.404a-5(f), (h)(4)).3 That is inaccurate: courts have found that the Department has

not declared brokerage windows a duty-free zone. See, e.g., Moitoso v. FMR LLC, 451 F.

Supp. 3d 189, 207 (D. Mass. 2020) (“in the absence of other regulations explicitly imposing


3 ForUsAll suggests, in the alternative, that the Department has agreed with this
statement. See Opp. at 28. That is incorrect. As explained above, the Department’s
regulations do not and have not stated that the duty of prudence does not extend to
brokerage windows.

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such a duty, [the Court] is hesitant to state unequivocally that there either is, or is not, a

fiduciary responsibility to monitor self-directed brokerage accounts”); cf. Larson v. Allina

Health Sys., 350 F. Supp. 3d 780, 799 (D. Minn. 2018) (finding that “Defendants may have

breached their fiduciary duty in allowing Fidelity to select specific Fidelity retail funds to

include in the Plan over identical, but lower-cost, K asset class funds”).4

       Moreover, contrary to ForUsAll’s contentions (at 19), neither the Release nor

Department officials have stated that a special rule applies to cryptocurrency investment

options in brokerage windows. ForUsAll purports to quote EBSA’s Chief Operating

Officer as “denying that the Department ‘has imposed [an] obligation’ ‘to monitor all of

the investments participants can access.’” Opp. at 19 (quoting Compl. ¶ 43). The article

from which this “quote” was lifted, however, does not actually quote the COO making

this distinction between cryptocurrency and other investments in a brokerage window.

See Rebecca Rainey & Austin R. Ramsey, Punching In: Whiling Away Time at DOL’s Wage

and Hour Division, Bloomberg Law (Apr. 18, 2022).5 In fact, when the reporter presented

plan sponsors’ concerns that they would “have to monitor all of the investments



4 ForUsAll also alleges that the Advisory Council on Employee Welfare and Pension
Benefit Plans “reported to Secretary Walsh that … DOL regulations say there is no such
obligation [to monitor brokerage windows]” and that “fiduciaries do not currently
engage in such monitoring.” Compl. ¶ 6(a). That too is incorrect. The Council’s advisory
report noted that some interpret certain regulations to “suggest that no such obligation
applies if investments are unrestricted,” but expressly took note of Moitoso. Understanding
Brokerage Windows in Self-Directed Retirement Plans, at 9-10 (Dec. 2021),
https://www.dol.gov/sites/dolgov/files/EBSA/about-ebsa/about-us/erisa-advisory-
council/2021-understanding-brokerage-windows-in-self-directed-retirement-plans.pdf.
5  Available at https://news.bloomberglaw.com/daily-labor-report/punching-in-
whiling-away-time-at-dols-wage-and-hour-division (last updated Apr. 18, 2022).

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participants can access,” the COO was quoted as stating, “We haven’t imposed that kind

of obligation. It’s much more about giving clear notice that fiduciaries need to be very

careful … [and] make sure they’re looking out for plan participants.” Id.6 In short, the

Department—through the Release or otherwise—has not taken the position that different

rules apply to cryptocurrency besides the basic background fiduciary duties of prudence

and loyalty.

      Second, ForUsAll contends that the Release holds itself out as having legal

consequences because it “make[s] pronouncements in mandatory terms” and does not

include boilerplate language disclaiming it has the force of law. Opp. at 20 n.9, 22. To

start, ForUsAll’s example of “mandatory” language—the Release stating that fiduciaries

“will have to include in their analysis how regulatory requirements may apply to

issuance, investments, trading, or other activities and how those regulatory requirements

might affect investments by participants in 401(k) plans,” Release at 3—is wholly

unremarkable. Here again, the Release is just restating basic principles: fiduciaries must

act diligently, including by knowing the “[r]ules and regulations governing the


6ForUsAll similarly conflates a reporter’s paraphrase or interpretation of the then-Acting
Assistant Secretary’s statements when quoting an April 22, 2022 Law360 article. Opp. at
19. Mr. Khawar was not quoted as stating, “plan sponsors should consider the brokerage
window reference in the context of a compliance assistance release focused on
cryptocurrency”; those are the reporter’s words. Kellie Mejdrich, Under Fire From Biz
Groups, DOL Stands By Crypto Guidance, Law360 (Apr. 22, 2022),
https://www.law360.com/articles/1486578 (“Law360 Article”). Mr. Khawar simply
stated that it has been approximately 10 years since the Department “opined in any
particular way on what exactly those fiduciary obligations look like in the context of
brokerage windows” and that, most recently, the Department has said “don’t assume that
you’re entering a safe house or something like that.” Id. None of these statements suggest
that different rules apply for cryptocurrency.

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cryptocurrency markets” (or any other market, for that matter), so that the plan and its

participants are not unduly exposed to risk. Id. That requirement would exist absent

issuance of the Release. See 29 U.S.C. § 1104(a)(1)(B); Hughes v. Nw. Univ., 142 S. Ct. 737,

741 (2022).

       The omission of boilerplate language stating that the Release does not have the

force of law is likewise a red herring. See Opp. at 22. While ForUsAll reads National

Mining Association v. McCarthy, 758 F.3d 243, 252 (D.C. Cir. 2014), to hold that the

inclusion or omission of the boilerplate disclaimer is determinative, see Opp. at 22,

National Mining actually recognizes that the boilerplate language is just one consideration

and that the Court looks to “the document as a whole.” 758 F.3d at 252. If the “guidance”

“reads like a ukase” and “commands,” “requires,” “orders,” and “dictates,” then it may

be a legislative rule and, thus, final agency action despite the disclaimer, as was the case

in Appalachian Power, 208 F.3d at 1023. But the omission of such boilerplate—when the

Release itself does not “read[] like a ukase,” see supra—does not automatically turn mere

guidance into final agency action under D.C. Circuit precedent. Moreover, the omission

of such boilerplate here (when such language was included in Compliance Assistance

Release No. 2021-01) is a function of the change in Departmental procedural rules, rather

than a signal of binding intent. On August 28, 2020, the Department promulgated a final

rule implementing former President Trump’s Executive Order 13891. Promoting

Regulatory Openness Through Good Guidance (PRO Good Guidance), 85 Fed. Reg. 53,163

(Aug. 28, 2020). That regulation required the Department to append the boilerplate

language to any guidance, 85 Fed. Reg. at 53,171, but was rescinded on January 27, 2021,

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see Rescission of Department of Labor Rule on Guidance, 86 Fed. Reg. 7,237 (Jan. 27, 2021),

amending 29 C.F.R. Part 89. The Release omits the language one prior release included

because the boilerplate was no longer mandatory.

       Third, ForUsAll claims that the Release has direct and appreciable legal

consequences because “plan fiduciaries are not ‘free to completely ignore’ the Release

‘with total impunity.’” Opp. at 21. But ForUsAll does not identify what those legal

consequences are. For instance, it does not explain how the Release would bind

Department decisionmakers going forward when it does not purport to find certain

offerings are or are not prudent, cf. Hawkes, 578 U.S. at 598-99 (noting that the agency

action binds the government for five years and prevents it from imposing civil liability

for past violations), or how it “withdraws” Department discretion, cf. POET Biorefining,

LLC v. EPA, 970 F.3d 392, 405 (D.C. Cir. 2020). Nor does it explain how a regulated entity

is “expose[d] … to the possibility of an enforcement action or to enhanced fines or

penalties” that it was not before under the statute. Cf. Valero Energy Corp., 927 F.3d 532,

536 (D.C. Cir. 2019). Nor does ForUsAll point to any instance in which the Department

has applied the Release as if it were binding. Nat’l Mining Ass’n, 758 F.3d at 253. All that

ForUsAll points to is the alleged reactions of some number of plans to the Release as

evidence that the Release has legal consequences, Opp. at 21, but the fact that those plans

acted—when two-thirds in ForUsAll’s sample did not—is insufficient. Nat’l Mining Ass’n,

758 F.3d at 253. The point is: the Release does not compel them to do anything that their




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fiduciary duties did not demand of them already.7 Accordingly, the Release does not

create direct and appreciable legal consequences, and it is not final agency action.

    III.      NOTICE AND COMMENT WAS UNNECESSARY BEFORE ISSUING THE RELEASE.

           Defendants’ motion demonstrated (at 24-26) that, even if ForUsAll has standing

and the Release constitutes final agency action (neither of which is true), Count I of the

complaint should be dismissed because, at most, the Release is an interpretative rule that

does not require notice and comment. ForUsAll disagrees based on its claims that (1) the

Release adopted a new legal position as to brokerage windows, Opp. at 23-25, (2) the

Department rejected notice-and-comment rulemaking, id. at 24, and (3) the Department

has refused to withdraw the Release and instead intends to initiate investigations based

upon it, id. at 26-27. Defendants address the first claim above at length, see pp. 11-12, 14-

16, supra, and will not belabor their points further. The second and third lack merit.

           ForUsAll’s assertion that the Department stated that it decided against

undertaking notice and comment due to “political expedience” is simply not supported

by the articles it cites. See Kaempe v. Myers, 367 F.3d 958, 963 (D.C. Cir. 2004) (“Nor must


7 Defendants noted in the motion (at 23) that the Release contemplates plan-specific
investigations and that, in the context of those investigations, the Department could reach
a decision whether offering a particular investment option was prudent under the
circumstances. ForUsAll seems to disagree that such a definitive position is necessary for
the Department’s action to be final. Opp. at 22-23. But absent a finding that certain
conduct violates—or does not violate—the duty of prudence, it is unclear how the Release
does anything other than “leave[] the world just as it found it.” Valero, 927 F.3d at 536.
Plan fiduciaries are free to offer cryptocurrency investment vehicles that comply with
their obligations, including the duty of prudence, and to raise any defense to an
enforcement action that was available prior to issuance of the Release; the Department
similarly would need to be prepared to justify any action without reference to the Release.
Nat’l Mining Ass’n, 758 F.3d at 253.

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we accept as true the complaint’s factual allegations insofar as they contradict exhibits to

the complaint or matters subject to judicial notice.”). Paragraph 41 purports to quote two

trade press articles in which the then-Acting Assistant Secretary supposedly “admitted”

that “the Department deliberately circumvented the APA’s rulemaking requirements in

order to front-run the whole-of-government approach to cryptocurrency regulation laid

out in the Executive Order.”8 The only reference to notice-and-comment rulemaking in

the first article—the April 22, 2022 Law360 article discussed above—was with respect to

an assertion made by business groups that the Release created a new fiduciary standard.

In response, Mr. Khawar was quoted as stating that the Release did not represent a “sea

change” and was “not inconsistent with what [the Department has] said before,” and he

explained that EBSA created the guidance in light of “Superbowl commercials … actively

encouraging    [people]    to   put   their    tax-advantaged    retirement    dollars   in

[cryptocurrency].” Law 360 Article. None of those statements indicates that any “agency




8 Executive Order No. 14067 acknowledges that cryptocurrency may “present disparate
financial risk to less informed market participants” and places “protect[ing] consumers,
investors, and businesses in the United States’ as its first policy objective, 87 Fed. Reg.
14143, 14143, 14147 (Mar. 9, 2022); see Mot. at 5. ForUsAll nevertheless maintains that the
Release is somehow out of step with the Administration’s approach to cryptocurrency.
See, e.g., Opp. at 3, 4 n.2; Compl. ¶¶ 36-41. That is incorrect. Indeed, a recent Department
of Treasury report produced in response to Executive Order No. 14067 highlights the
Release as an appropriate means of “address[ing] current and emerging risks in crypto-
asset intermediation.” Dep’t of Treasury, Crypto-Assets: Implications for Consumers,
Investors, and Businesses at 40-41 (Sept. 2022), https://home.treasury.gov/system/files/
136/CryptoAsset_EO5.pdf. In any event, Executive Order No. 14067 “does not[] create
any right or benefit … enforceable at law or in equity by any party against the United
States.” 87 Fed Reg. 14152.
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official” believed notice-and-comment procedures were appropriate or purposefully

evaded. Cf. Comm. for Fairness v. Kemp, 791 F. Supp. 888, 895 & n.25 (D.D.C. 1992).

       ForUsAll’s citation to the second article again wrongfully conflates the reporter’s

paraphrasing of Mr. Khawar with his actual statements. Compl. ¶ 41 (quoting Brian

Croce, DOL’s Khawar Discusses Fidelity’s Crypto Offering, ESG Proposal, Pensions &

Investments (May 19, 2022)). The quoted language in the complaint regarding “a

standard rule-making process—which takes at least months and potentially years” is the

reporter’s language—and not supposedly a quote from Mr. Khawar. And again, nothing

in that article suggests that Mr. Khawar or any other Department official believed the

guidance should have proceeded through notice and comment or that those processes

were improperly evaded. Cf. Comm. for Fairness, 791 F. Supp. at 895 & n.25. Because these

allegations conflict with the incorporated press articles, they do not support a finding that

notice and comment was necessary here and should be ignored.

       Finally, ForUsAll accuses Defendants of having “a remarkable degree of

chutzpah” to suggest that the Release is at most an interpretative rule when, on its

reading, the Department supposedly “inten[ds] to rely on the Release as a basis for

initiating investigations.” Opp. at 26. The language of the Release block-quoted

immediately below ForUsAll’s assertion contradicts this claim. See id. The Release states

that EBSA “expects to conduct an investigative program” “[b]ased on the[] … concerns”

identified in the Release—not that any investigative program will seek to enforce the

Release itself. Release at 3. The authority to investigate and enforce statutory fiduciary

duties comes, unsurprisingly, from the statute. 29 U.S.C. §§ 1104, 1132, 1134. Indeed, the

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last sentence of the Release informs plan fiduciaries that EBSA will seek to understand

how the fiduciaries’ actions square with those statutory duties, which EBSA references

earlier in the Release. See Release at 1, 3.

                                        *      *     *

       Providing plan fiduciaries and the broader public with information regarding the

Department’s concerns, particularly when those concerns touch on Americans’

retirement savings, improves transparency and furthers ERISA’s purpose of protecting

plan participants. That EBSA and the Department more broadly stand by these efforts

does not impact whether the Release is a legislative or interpretative rule. See Opp. at 27.

Because the Release in substance is not a legislative rule, Count I should be dismissed.9

                                       CONCLUSION
       For the reasons above, and those stated in the motion to dismiss, this action should

be dismissed for lack of subject-matter jurisdiction or for failure to state a claim.




9ForUsAll suggests that the Court’s Mediation Program or the Court’s assistance in
working out a stipulation that addresses certain points may be beneficial. Opp. at 28 n.14.
At this time, Defendants do not believe such efforts would bear fruit.
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Dated: October 20, 2022            Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I certify that I filed the foregoing document with the Clerk of the Court through

the CM/ECF system on October 20, 2022. This system provided a copy to and effected

service of this document to all parties.



                                                /s/ Christopher A. Eiswerth

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